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EXHIBIT 1

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` IN THE UNITED STATES DISTRICT COURT
F()R THE NORTHERN DISTRICT OF ILLINOIS

GEORGE McREYN()LDS~, MAROC
HOWARD, LARUE GIBSON, JENNIFER
MADRID, FRANKIE ROSS, MARVA YORK
LESLIE BR()WNE, HENRY WILSON,
LEROY BROWN, GLENN CAPEL,
CHRISTINA COLEMAN, J. YVES LABORDE,
MARSHELL MlLLER, CARNELL MOORE,
MARK JOHNSON, CATHY BENDER-
JACKSON, and STEPHEN SMARTT,
Individually on behalf of themselves

and all others similarly situated Case No. 05-C-6583

Plaintiffs,
Judge Rohert W. Gettleman

v, Magistrate Judge Gilbert

MERILL LYNCH, PIERCE, FENNER
& SMITH, lNCORPORATED,

Defendant.

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DECLARATION OF GEORGE McREYNOLDS

l, George McReynolds, declare under penalty of perjury that the following
statements are based on my personal knowledge and observations and are true and
accurate to the best of my belief.

1. I have been the lead plaintiff and member of the Steering Committee in
the above-referenced action since the inception of this litigation ln 20041 approached
Stowell & Friedman along with Maroc “Rocky” H`oward regarding issues relating to my
employment at Merrill Lynch, Which l believed Were discriminatory Together Rocky
Howard and l retained Stowell & Friedman. In 2005, when I was 61 years old, l filed the
original complaint in federal court asserting the Section 1981 claim, and Maroc Howard
filed the underlying class charge of discrimination with the EEOC that became the basis

for the Title Vll claims of the class case.

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2. We have been working side by side with Stowell & Friedman on this case
for the past nine years. Rocky Howard and l alone have spent hundreds of hours aiding
Class Counsel in the drafting of complaints, motions, and briefs; reaching out to and
bringing in other former and current Afn`can American Financial Advisors to serve as
Class Representatives or members of the Steering Comrnittee; serving as a mentor and
liaison to the class members; and prosecuting the class claims. During the past nine
years, hardly a day passed when l did not spend time on this case, whether it was
speaking with the attorneys, the Class Representatives, the experts, class members, and
the media; or reading briefs, transcripts, and case law; or traveling to and attending
depositions, court proceedings, and mediations. F or example, in 2012 alone, l spent more
than 85 hours on conference calls relating to this case with Class Counsel, Class
Representatives, and others.

3. l began my career at Merrill Lynch in 1983 as what is now known as a
Financial Advisor in the downtown Nashville, Tennessee oftice. l am 69 years old and
currently hold the title of Assistant Vice President, Financial Advisor.

4. In 2004, I contacted Stowell & Friedman, Ltd. to consult with them about
the discrimination I had experienced and was continuing to experience at Merrill Lynch
on the basis of my race. Among other things, l recently had been forced onto a team with
two white trainees When the team split up, l lost $40 million in my client assets to the
trainees, l lost my oftice, and l was left working from a carrel just outside the ladies’
restroom.

5. I spent my adult work life at Merrill Lynch, and I always believed that it
was the best firm on Wall Street. Indeed, l hoped my children would join me in working
at Merrill Lynch. But my children have watched me being beaten down not only by overt

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racism in my oft`ice, but also by the impact of Merrill Lynch’s discriminatory policies and
practices, including the teaming, pooling, and account distribution policies. Aiter seeing
the way Merrill Lynch treated me and other African Americans, two of my children told
me they would never work for a place like Merrill Lynch. A third child who has a MBA
Was told she was not qualified even though a colleague’s son without a college degree
was hired. 'l` his was a great disappointment to me, but it also motivated me to tight for
reform at Merrill Lynch.

6. Based on our discussions, Stowell & Friedman told me that l had a strong
case against Merrill Lynch for race discrimination, and if l chose to tile an individual
lawsuit, it probably could be resolved fairly quickly. This option offered a strong
possibility of prompt relief for my work environment issues and my urgent financial
pressures. My other option, the attorneys told me, was to file a class action challenging
the discriminatory treatment of all African American Financial Advisors. This would
require much greater time and effort In my presence, Rocky Howard was given the
same options

7. Al"ter much thought and consideration, I decided to initiate class litigation
against Merrill Lynch because l believe that Merrill Lynch must treat African American
Financial Advisors fairly. I felt that someone had to stand up to Merrill Lynch and force
them to stop their discriminatory practices l knew I had to do something not only to
demonstrate to my children that you need to stand up for what is right and take a stand
against discrimination, but to try to effectuate systemic reform within Merrill Lynch so
that future generations ot` African Americans would want to join Merrill Lynch.

8. Although I initially filed suit in federal court alone against Merrill Lynch,
the lawsuit was amended thereafter to include additional African American Financial

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Advisors as Class Representatives. Stowell & Friedman told me that Maroc and l could
remain the only representatives of the class, or we could decide to include additional
African American Financial Advisors as Class Representatives. If Maroc and l were the
only Class Representatives, we could maintain cohesiveness and control of the litigation
But Maroc and l decided that we should open things up to include as Class
Representatives a broad range of At`n'can American Financial Advisors across the
country, from trainees to the most experienced Financial Advisors and everyone in
between We realized this would complicate the litigation process, because inevitably
each Class Representative has his or her own personality, history with the firm, ideas, and
views of the most important issues for this litigation But we believed it was important to
have Class Representatives that could bring these other perspectives to the table for the
benefit of the class.

9. l attended seven mediation sessions with Merrill Lynch executives shortly
after the litigation was tiled. l viewed Merrill Lynch’s early settlement proposals as
inadequate, however, because they would not resolve the systemic discrimination at the
firm or fairly compensate class members for the economic harm suffered l rejected these
proposals because I did not believe they would serve the best interests of the class.

10. ln 2006, Merrill Lynch learned that the New York Times was about to
publish an article about this class litigation alleging race discrimination, including the
fact that Merrill Lynch had no tenured African American Financial Advisors in over half
the states in the country. Around that time, I was told that Merrill Lynch hired several
hundred African Americans to be Financial Advisor trainees Unfortunately, the firm had
no plan to support these new African American trainees. The named plaintiffs looked on
with horror from our branch offices as, one by one, these African Americans began to fail

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because they lacked the support and opportunities that white trainees enj oyed, and were
then fired or forced to resign.

ll. Being the perceived leader of a group of 17 strong minded and determined
Class Representatives has required patience and a tremendous amount of time. I
promised Stowell & Friedman that I would work hard to ensure that the Class
Representatives held strong as a group, and not as individuals l regard myself as a
peacemaker, and I tried to be a voice of reason l knew that in order to achieve success,
we would have to be united in our goals and not let the process wear us down. But this
required me to spend a lot of time communicating with the attorneys and the other Class
Representatives over the past eight years, particularly when we suffered litigation
disappointments and when the economic downturn increased financial pressures At
times, as with any group, there were disagreements about the direction to take the
litigation Some people lost faith in the litigation process However, l take pride in how
we managed the difficult and long process of shepherding this litigation through to a
successful conclusion l am proud that, despite all our challenges and disappointments,
the Class Representatives maintained their unity in seeking justice and reform for the
whole class instead of pursuing their own personal and financial interests

12. Since 1994, l have seen myself as part of a group acting to advance the
interests of African American Financial Advisors at Merrill Lynch. ln 1994, l met with
other Merrill Lynch African American Financial Advisors in Chicago in an effort to build
a support system and to determine what we could do to make Merrill Lynch a better place
for us to work. Most of those in attendance worked in offices where they were the only
African American Financial Advisors. They had never met one another before and were
surprised to learn that other African American Financial Advisors at Merrill Lynch were

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suffering under the same discriminatory policies and practices ln speaking with others at
this meeting, l realized that Merrill Lynch management was one of the biggest obstacles
in our path to success Though Merrill Lynch did not sponsor the 1994 Chicago meeting,
l believe that the meeting and others like it that we held in subsequent years prompted
Merrill Lynch to create and sponsor an annual African American symposium beginning
in the late 1990s in order to gain control of what they perceived as a potential problem.

At each symposium, Merrill Lynch would promise change, and each time the F irm failed
to deliver on that promise Indeed, very little has changed for the better at Merrill Lynch
with respect to the Firrn’s treatment of African American Financial Advisors

13. l am unable to fully articulate the financial and emotional impact that this
lawsuit and my role as a Class Representative have had on me.

14. My involvement in this case has taken its toll emotionally, financially and
professionally As a Class Representative who also was a current Financial Advisor at
Merrill Lynch, I had to walk through the door of the office in Nashville, Tennessee every
day for the last eight years I have had to keep my head up and keep my mind focused on
my clients and building my business This was not easy when faced with the pointed
states of my colleagues and outright hostility from management When l had a heart
attack, I learned that my co-workers placed bets on whether l would survive. Later, when
it was clear that l did survive, they placed bets that we would lose the lawsuit

15. From the beginning, l had a target on my back, as did Cathy Bender who
joined me as a named plaintiff when we filed the Second Amended Complaint in
November 2006. Because l initiated the class action, there was a lot of focus on the
lawsuit in my office and on the two of us. Once the lawsuit became public and our
participation became well known, people in the office stopped talking to us. l was

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excluded from group activities Other Financial Advisors would not look me in the eye.
The sales manager in the office never offered me any help.

l6. The experience has been extremely isolating. l felt that l was under a
microscope in terms of my work performance l have had no opportunities to team with
other Financial Advisors and both management and my co-workers have drawn a wide
circle around me and kept their distance My business suifered. My production
decreased due to the lack of support and opportunities

17. Because my name appears first in the caption, l know that my name has
become synonymous with this litigation In deciding to come forward and put my name
on the initial Complaint, l knew I would be forever altering my position within Merrill
Lynch and the entire industry From the moment l initiated the Employee Dispute
Resolution process internally at Merrill Lynch, I was tagged a “troublemaker” not only at
Merrill Lynch but in the financial industry Financially, the riskl took initiating this
lawsuit was tremendous

18. My name will always be associated with this lawsuit on the Internet.
Whenever anyone searches Google, PACER, the electronic litigation-filing database, or
any other search engine, my name will pop up as the lead plaintiff in a class race
discrimination lawsuit against Merrill Lynch. My name also appears in numerous
newspaper articles discussing the litigation and discrimination against Afn'can Americans
on Wall Street. l have been one of the faces of this litigation for over eight years l
believe that much has changed since 2005 regarding the topic of race in this country.
'l`oday l find the public aspect of the litigation a source of pride. However, during earlier

years l was fearliil that the publicity would harm my business and family.

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l9. The lawsuit has impacted me in other ways as well. Since making the
decision to put my name on the class complaint and to become an active member of the
litigation, l have been concerned about losing clients. Most of my client base is white. I
also have been concerned that potential clients would shy away from working with a
broker involved in major litigation against his brokerage iirm, particularly in light of the
media attention given to the case. l have no way to measure whether potential clients
have been deterred from using me as their broker as a result of my involvement in this
case. This has created an additional layer of stress for me over the past nine years.

20. lt is almost impossible to quantify the amount of time l have spent on the
case over the last nine years since I first approached Stowell & Friedman, Ltd. about this
case. lt took an entire year to develop the case before we tiled, and that was before the
case really got started

21. As lead plaintiff and Steering Committee member, I worked closely with
Class Counsel to explain my experiences at Merrill Lynch and to develop the underlying
evidence necessary to develop and prosecute the case. We met extensively with Class
Counsel as a group to discuss Merrill Lynch’s policies and practices and the experiences
of At`rican American Financial Advisors, and to understand our role and duties as Class
Representatives. We also met with experts regarding Merrill Lynch policies, how to
understand and analyze those policies, and how to understand the range of potentially
recoverable losses caused by those policies. We prepared for and participated in seven
days of mediation sessions in New York and San Francisco in an attempt to settle the
case at the early stages of the litigation As part of this mediation and negotiation

process, we worked extensively with our counsel and experts to devise and present

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proposals and counterproposals for injunctive relief_, policy reforms, and initiatives to
level the playing field for At`rican Americans at Merrill Lynch.

22. Over the last nine years, I have spent many hundreds of hours speaking
with our attorneys and participating in Steering Committee calls. l have attended in-
person Steering Committee meetings all over the country, including in Chicago and New
York. During these meetings, we discussed litigation strategy and provided information
to Class Counsel about the company We discussed our roles as Class Representatives;
reviewed company data, documents, and records; and otherwise assisted in the litigation
of the case.

23. l reviewed documents, assisted in the discovery process, attended
depositions of members of Merrill Lynch’s senior management team, and worked closely
with our experts l estimate that l have participated in well over 80 conference calls as a
lead plaintiff and member of the Steering Committee over the last eight years, in addition
to the numerous in person meetings l attended with other Steering Comrnittee members
relating to this suit. In addition, l participated in countless individual calls with Stowell
& Friedman to discuss the progress of the case, as well as scores of smaller group calls
made to Stowell & Friedman along with other Class Representatives. I also had
extensive email communications with Class Counsel since I nrst became involved in this
litigation in 2004.

24. in addition to speaking to the attorneys and the other Class
Representatives, I have devoted a significant amount of time speaking with other Ali’ican
American Financial Advisors who worked for Merrill Lynch around the country
regarding issues of the discriminatory impact of Merrill Lynch’s policies and practices on
At`rican American Financial Advisors and about this lawsuit, including at Merrill Lynch

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sponsored symposiums and meetings For example in November 2006, l attended Menill
Lynch’s At`rican American symposium and wore a button that stated “McReynolds
Supporter” in order to make myself available to any Ali'ican American Financial Advisor
interested in discussing this case, Many members of senior management attended this
symposium and were visibly disturbed by the buttons

25. Since 2004, I have never wavered in my commitment to the case or my
determination to fight for change within the organization, regardless of the impact on my
professional career and personal life. I have received numerous telephone calls from
other African Americans who heard about the lawsuit and contacted me for more
information l provided information about the suit, answered their questions, and
directed these Al:`rican Americans to our attorneys Many of these phone calls and
meetings took place in the evenings and on weekends

26. l participated in all of the mediation sessions These mediations occurred
in New York City, San Francisco, Chicago, and Washington, D.C. During the
mediations, l contributed my thoughts and opinions about settlement ideas and the
dialogue between the parties. Many African American Financial Advisors that l spoke
with chose not to get actively involved in the litigation because of the fear that their
involvement would negativer impact their careers. l knew that these individuals were
relying on me to continue to light for them. l`his knowledge placed a heavy burden on
my shoulders

27. Every time there was an important hearing or argument before Magistrate
Judge Gilbert, ludge Gettleman, or the Seventh Circuit, I would travel to Chicago to

support Class Counsel and represent the putative class. By my estimate, l attended

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numerous court hearings over the course of the litigation l often travelled to Chicago at
my own expense to attend these hearings

28. As one of the two initial plainti fifs, l have always played a prominent role
in any media attention that the suit received. l was interviewed by the New York Times
on two separate occasions, the Chicago 'l`ribune, Wall Street Journal and many other
media outlets from around the country. My name appeared in articles that were picked
up on Bloomberg and all the other financial and business websites on the Internet
numerous times throughout the course of the litigation To say that my role in this case
was very visible is an understatement

29. l participated in the media because l felt that our story needed to be told
and that Merrill Lynch needed to recognize how its policies and practices negatively
impact African American Financial Advisors like myself and make it difficult if not
impossible to succeed at the same rate as our white counterparts l knew that by stepping
forward l would forevermore be putting my financial livelihood at risk. l also knew I
would be saddled with the burden of carrying this case forward to the end, regardless of
the outcome.

30. As a Class Representative and lead plaintiff, I was required to review and
aid Class Counsel in drafting answers and producing documents responsive to
defendant’s written discovery requests, including specifically answers relating to my
experiences and history as a Financial Advisor at Merrill Lynch. This took a significant
amount of time. Every time Class Counsel was preparing a written discovery request or
responding to discovery issued by Merrill Lynch, l worked with them to craft our
responses and requests For example, l personally participated in the drafting of
plaintiffs’ responses to questions 2, 3, 5, 9, 14, 17, and 20 of Defendant’s Third Set of

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Interrogatories to Plaintiffs, and'l verified that the description of some of defendant’s
policies and practices as described in plaintiffs response to question number 2 of the
Defendant’s Third Set of lnterrogatories was true and correct to the best of my
knowledge

31. ln addition to helping Class Counsel prepare and respond to written
discovery, l had my deposition taken on August l4, 2007 in Nashville, Tennessee. l
was required to take time away from the office and my family. ln addition to the
deposition, I spent many hours working with Class Counsel to prepare for the deposition
We prepared on the phone and in person for at least two or more additional days prior to
the deposition

32. The deposition process was also stressful and difficult, because l was
required to speak at length about the discrimination l conhonted throughout my career at
Merrill Lynch and the way that Merrill Lynch’s practices, like the company’s teaming
and account distribution policies, had negatively impacted my career. l also had to
withstand questioning which l perceived as challenging my capabilities as a broker by
opposing counsel. While the lawyers on the other side were professional and respectful,
the process left me feeling like a failure as a Financial Advisor even though l have had a
long and successful career. l also was still recovering from major surgery so the
deposition took a real toll on my physical well-being.

33. l also helped Stowell & Friedman prepare for the depositions of many
Merrill Lynch witnesses and experts This required me to review numerous documents
produced in discovery.

34. As a current employee, l also participated in at least two meetings in 2006
with the experts employed by the class to analyze the business data and records so that

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our experts could understand how Merrill Lynch’s account distribution, pooling, and
teaming policies worked in practice and how leads, referrals, and other business was
distributed by Merrill Lynch management in the branch offices

35. l attended the depositions of our experts Dr. Janice Madden and Dr.
William Bielby, as well as the deposition of Meriill Lynch’s expert organizational
psychologist, J ames Outtz. lt was important to attend these depositions so that l could
help Class Counsel.

36. Because l am committed to this litigation and its prosecution, l have found
it necessary to take time away from work and my family. The amount of time l have
taken away nom my business over the last eight years to serve in my capacity as lead
plaintiff has been significant Every conference call, mediation session, court hearing
and meeting with Class Counsel that l attended required time away from servicing my
clients and developing new business Because my income depends on commissions the
time l spent away from work has had a direct impact on my family’s finances

37. Because l was coming from Tennessee, there was additional travel time
associated with each trip. Also, in 2007, l suffered a heart attack and had other serious
health problems that made commercial air travel difficult As a result, whenever the
litigation required me to travel to meetings with lawyers or court hearings in Chicago, my
wife had to drive me there. l estimate that over the last eight years, my commitment to
this litigation and my role as lead plaintiff have taken me away from the office well over
l00 days, and this does not include the countless hours that l spent at night and on the
weekends conferring with other Class Representatives or other At`rican American

Financial Advisors who either were working for Merrill Lynch or who at one time

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worked for the company. l also covered some of the costs associated with this travel out
of my own pocket, which placed additional financial pressure on me and my family.

38. I believe my serious health problems in 2007 were due in part to the stress
of the litigation and the workplace pressures associated with my role as lead plaintiff in a
lawsuit accusing my employer of race discrimination At that time l had to make another
choice: whether or not to continue as lead plaintiff in light of my poor health. I could
have retired, but I decided to remain the lead plaintiff because I was determined to see
this litigation through to its conclusion and to keep fighting for racial equality at Merrill
Lynch.

39. Although I am now 69 years old and my health is still problematic, I have
once again chosen to remain at Merrill Lynch instead of retiring, because I want to be a
member of the first Leadershi'p Council ~ the body established by this settlement to
monitor the effectiveness of the injunctive relief to which Merrill Lynch has agreed.

40. l am proud of the Class Reprcsentatives for holding together, putting aside
their personal and financial interests, and finishing the task we started for the benefit of
the entire class l am also proud of Merrill Lynch for agreeing to initiatives that will
make a real difference to Afn`can Americans at the firm now and in the future. l believe
the Settlemerit Will forever transform the way African Americans are treated at Merrill
Lynch, and because of the firm’s leadership position, l believe this transformation will

extend to the financial services industry in general.

l declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct

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George McReynolds Date

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